Appellate Case: 17-1382     Document: 01019930950   Date Filed: 01/16/2018   Page: 1
                                                                               FILED
                                                                   United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                     Tenth Circuit

                               FOR THE TENTH CIRCUIT                    January 16, 2018
                           _________________________________
                                                                       Elisabeth A. Shumaker
                                                                           Clerk of Court
  ESTATE OF ZACHARY MOFFITT, by
  and through its personal representative
  other Kelly Kramer; M.M., a minor, by and
  through her next friend and mother,
  Cassandra Higgins; C.M., a minor, by and
  through her next friend and mother,
  Cassandra Higgins,

        Plaintiffs - Appellees,

  v.                                                       No. 17-1382
                                              (D.C. No. 1:15-CV-00071-WYD-MEH)
  ERIK J. BOURGERIE, Captain, in his
  individual capacity; CHERYL
  GIORDANO, Staff Sergeant, in her
  individual capacity; JONATHAN
  DIURBA, Deputy, in his individual
  capacity; NATHAN FIDLER, Deputy, in
  his individual capacity; BRIAN HYDE,
  Deputy, in his individual capacity;
  KATHY LAMBERT, Deputy, in her
  individual capacity; JEFF WILSON,
  Deputy, in his individual capacity,

        Defendants - Appellants,

  and

  JOHN MINOR, Sheriff, in his official and
  individual capacity; RYAN HOSIER,
  Deputy, in his individual capacity,

        Defendants.
                           _________________________________

                                        ORDER
                           _________________________________
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         In accordance with 10th Cir. R. 33.1 and upon consideration of the stipulation of

  the parties to voluntarily dismiss the captioned appeal, this appeal is dismissed. See Fed.

  R. App. P. 42(b).

         Each party will bear their own costs on appeal. A copy of this order will stand as

  the mandate of the court.


                                                Entered for the Court



                                                ELISABETH A. SHUMAKER, Clerk




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